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AO 246 (Rev. 01/14- Fresno) Probation Order Under 18 U.S.C. § 3607


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                        Eastern District of California

          UNITED STATES OF AMERICA,                                        )
                     v.                                                    )
                                                                           ) Case No. 6:19-PO-00156 JDP
              VANESSA J. SOLORZANO                                         )
                                                                           )
                            Defendant                                      )




                                                 ORDER TO PAY
                                   PROBATION PURSUANT TO A DEFERRED JUDGMENT
                                        AGREEMENT BETWEEN THE PARTIES

         The defendant having been found guilty of an offense under 36 CFR 2.35(b)(2), and pursuant to an agreement
between the government and the defendant,
         IT IS ORDERED: The defendant is placed on unsupervised probation as provided in the agreement between the
parties for a period of 12 months, without a judgment of conviction first being entered. The defendant must comply with
the standard conditions of probation set forth in this order, and the following conditions found on page two:
1. The defendant's probation shall be unsupervised by the probation office.
2. The defendant is ordered to obey all federal, state, and local laws.
3. The defendant shall notify the court and, if represented by counsel, your counsel of any change of address and
    contact number.




Date:             6/26/2019                                                        /s/ Jeremy D. Peterson
                                                                                   JEREMY D. PETERSON
                                                                                  United States Magistrate Judge
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                                                            Conditions of Probation

While on probation, you must also:


    1. The defendant shall pay a fine of $560.00, a processing fee of $30.00 and a special assessment of $10.00 for
       a total financial obligation of $600.00, which shall be paid in full by April 26, 2020. Payment shall be made
       payable to the Clerk, U.S.D.C., and mailed to:

         CENTRAL VIOLATIONS BUREAU
         P.O. Box 71363
         Philadelphia, PA 19176-1363
         1-800-827-2982
         -or-
         Pay online at www.cvb.uscourts.gov and click on “Pay On-Line”

    2. The defendant must report for post-plea booking by July 26, 2019.

    3. The defendant is ordered to personally appear for a Probation Review Hearing on May 19, 2020 at 10:00 am
       before U.S. Magistrate Judge Jeremy D. Peterson.
